                             Case 1:25-cv-01281                           Document 1-6                 Filed 04/25/25                  Page 1 of 2
                                                                           CIVIL COVER SHEET
JS-44 (Rev.11/2020DC)
 I. (a) PLAINTIFFS                                                                              DEFENDANTS
 ENVIRONMENTAL DEFENSE FUND                                                                    UNITED STATES ENVIRONMENTAL PROTECTION
                                                                                               AGENCY


 (b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF_8_8_ 8_8_8____                                 COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT ________
                   (EXCEPT IN U.S. PLAINTIFF CASES)                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                      NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE TRACT OF LAND INVOLVED

 (c) ATTORNEYS (FIRMNAME,ADDRESS,AND TELEPHONE NUMBER)                                          ATTORNEYS (IF KNOWN)
William D. Marsh, Kaplan Kirsch LLP, One Sansome Street, Suite 2910, San
Francisco, CA 94104 (415) 907-8704

Nathaniel H. Hunt, Kaplan Kirsch LLP, 1675 Broadway, Suite 2300, Denver, CO 80202
(303) 825-7000

Erin Murphy, Environmental Defense Fund, 555 12th St. NW, Suite 400, Washington,
D.C. 20004 (202) 572-3525
 II. BASIS OF JURISDICTION                                                          III. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE AN x IN ONE BOX FOR
     (PLACE AN xIN ONE BOX ONLY)                                                    PLAINTIFF AND ONE BOX FOR DEFENDANT)FORDIVERSITY CASES ONLY!
                                                                                                               PTF        DFT                                              PTF           DFT
 0 1 U.S. Government
     Plaintiff
                                    0 3 (U.S.
                                         Federal Question
                                              Government Not a Party) Citizen ofthis State                     0)1        01        Incorporated or Principal Place       04         04
                                                                                                                                    ofBusiness in This State
 0 2 U.S. Government
     Defendant
                                    0 4 Diversity
                                        (Indicate Citizenship of
                                                                                    Citizen ofAnother State    02         Ch Incorporated and Principal Place Os                     os
                                                                                                                                    ofBusiness in Another State
                                            Parties in item III)                    Citizen or Subject ofa
                                                                                                               03         Q3
                                                                                    Foreign Country                                 Foreign Nation                        06         06
                                                       IV. CASE ASSIGNMENT AND NATURE OF SUIT
              (Place anX in one cate�ory, A-N, that best represents y our Cause of Action and one in a correspondin� Nature of Suit)
 0 A. Antitrust                  0 B. Personal Injury/                                   0 C. Administrative Agency                            0 D. Temporary Restraining
                                      Malpractice                                             Review                                                Order/Preliminary
  D 410 Antitrust                                                                                                                                   Injunction
                                 D 310 Airplane                                          D 151Medicare Act
                                 D 315 Airplane Product Liability                                                                               Any nature of suit from any category
                                 D 320 Assault, Libel & Slander                          Social Security
                                 D 330 Federal Employers Liability                       0    861 HIA (1395ft)
                                                                                                                                                may be selected for this category of
                                                                                                                                                case assignment.
                                 O340Marine
                                                                                         D 862 Black Lung (923)
                                 D 345Marine Product Liability
                                                                                         0    863 DIWC/DIWW (405(g))                            *(If Antitrust, then A governs)*
                                 D 350Motor Vehicle                                      D 864 SSID Title XVI
                                 D 355Motor Vehicle Product Liability
                                                                                         0    865 RSI (405(g))
                                 D 360 Other Personal Injury
                                                                                         Other Statutes
                                                                                         D 891 Agricultural Acts
                                 D 362Medical Malpractice
                                 D 365 Product Liability
                                                                                         D 893 Environmental Matters
                                 D 367 Health Care/Pharmaceutical                        D 890 Other Statutory Actions (If
                                                                                                  Administrative Agency is
                                       Personal Injury Product Liability
                                                                                                  Involved)
                                 D 368 Asbestos Product Liability

 0 E. General Civil (Other)                                                OR                 0 F. Pro Se General Civil
 Real Property                                   Bankruptcy                                         Federal Tax Suits
 D    210 Land Condemnation                       D  422 Appeal 28 USC 158                          D 870 Taxes (US plaintiff or                D 465 Other Immigration Actions
 D    220 Foreclosure                            D 423 Withdrawal 28 USC 157                                 defendant)                         D 470 Racketeer Influenced
 D    230 Rent, Lease & Ejectment                                                                   D 871 IRS-Third Party 26 USC                           & Corrupt Organization
 D 240 Torts to Land                             Prisoner Petitions                                          7609
                                                                                                                                                D 480 Consumer Credit
 D    245 Tort Product Liability                  D   535 Death Penalty
                                                                                                                                                D 485 Telephone Consumer
 D                                               D 540Mandamus & Other                              Forfeiture/Penalty
      290 All Other Real Property
                                                 D 550 Civil Rights                                 D    625 Drug Related Seizure of                       Protection Act (TCPA)

 Personal Property                                D   555 Prison Conditions
                                                                                                             Property 21 USC 881                D 490 Cable/Satellite TV
 D    370 Other Fraud                             D   560 Civil Detainee - Conditions               D 6900ther                                  D 850 Securities/Commodities/
                                                                                                                                                           Exchange
 D 371 Truth in Lending                                   of Confinement
                                                                                                    Other Statutes                              D 896 Arbitration
 D 380 Other Personal Property                                                                      D
          Damage                                 Property Rights
                                                                                                        375 False Claims Act                    D 899 Administrative Procedure
                                                 D 820 Copyrights                                   D 376 Qui Tam (31 USC                             Act/Review or Appeal of
 D    385 Property Damage
                                                  D  830 Patent
                                                                                                    D
                                                                                                            3729(a))                                  Agency Decision
          Product Liability
                                                 D 835 Patent - Abbreviated New                         400 State Reapportionment               D 950 Constitutionality of State
                                                         Drug Application                           D   430 Banks & Banking                           Statutes
                                                  D  840 Trademark                                  D   450 Commerce/ICC Rates/etc              D 890 Other Statutory Actions
                                                  D  880 Defend Trade Secrets Act of                D   460 Deportation                               (if not administrative agency
                                                         2016 (DTSA)                                D 462 Naturalization                              review or Privacy Act)
                                                                                                             Application
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